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                     6   Attorneys for Defendants/Counterclaimants/
                         Cross-Defendants Casha Kaufer & Michael Robert Douglas
                     7
                                                   UNITED STATES DISTRICT COURT
                     8
                                                         DISTRICT OF NEVADA
                     9
                    10   STATE FARM LIFE INSURANCE COMPANY,
                         an Illinois corporation,
                    11          Plaintiff,                                   Case No: 3:19-cv-00658-LRH-WGC
                    12   vs.
                    13   THE ESTATE OF CATHERINE G.                           STIPULATION AND ORDER FOR
                         NEIGHBORS; CASHA KAUFER, Individually                 DISMISSAL WITH PREJUDICE
                    14   and as Representative of the Estate of Catherine
                         G. Neighbors; MICHAEL ROBERT DOUGLAS,
                    15   Individually and as Representative of the Estate of
                         Catherine G. Neighbors; LAURA DRUCKER;
                    16   SUSAN COSSETTE; DOES I through X,
                         inclusive; and ROE CORPORATIONS XI
                    17   through XX, inclusive,
                                 Defendants.
                    18                                                  __/
                    19   CASHA KAUFER, Individually and as
                         Representative of the Estate of Catherine G.
                    20   Neighbors; MICHAEL ROBERT DOUGLAS,
                         Individually and as Representative of the Estate of
                    21   Catherine G. Neighbors,
                    22           Counterclaimants/Cross-Claimants
                         vs.
                    23
                         STATE FARM LIFE INSURANCE COMPANY,
                    24   an Illinois Corporation; LAURA DRUCKER; and
                         SUSAN COSSETTE,
                    25           Counterdefendants/Cross-Defendants
                    26   _______________________________________/
                         LAURA DRUCKER, individually, and SUSAN
                    27
                         COSSETTE, individually,
                    28            Cross-Claimants,
Robison, Sharp,
Sullivan & Brust
71 Washington St.
Reno, NV 89503                                                      1
(775) 329-3151
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                     1
                     2   vs.
                         THE ESTATE OF CATHERINE G.
                     3   NEIGHBORS; CASHA KAUFER, individually
                         and as Representative of the Estate of Catherine
                     4   G. Neighbors; and MICHAEL R. DOUGLAS,
                         individually and as Representative of the Estate of
                     5   Catherine G. Neighbors,
                     6             Cross-Defendants.
                         ________________________________________/
                     7
                     8
                                     STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE
                     9
                                The parties, having appeared before the Honorable Carla Baldwin on September 23, 2020
                    10
                         for a settlement conference, agree and stipulate to dismiss this matter with prejudice, with all
                    11
                         parties to bear their own attorney fees and costs.
                    12
                    13   Dated this 23rd day of October, 2020                     Dated this 23rd day of October, 2020
                    14   McCORMICK, BARSTOWN, SHEPPARD                            ROBISON SHARP SULLIVAN & BRUST
                         WAYTE & CARRUTH, LLP                                     A Professional Corporation
                    15   241 Ridge Street, Ste. 300                               71 Washington Street
                    16   Reno, Nevada 89501                                       Reno, Nevada 89503

                    17
                           /s/Michael A. Pintar                                     /s/Therese M. Shanks
                    18   MICHAEL A. PINTAR, ESQ. – NSB #3789                      KENT R. ROBISON, ESQ.–NSB #1167
                         Attorney for Plaintiff/Counterdefendant State            THERESE M. SHANKS, ESQ.–NSB #12890
                    19   Farm Life Insurance Corporation                          Attorneys for Defendants/Counterclaimants/
                                                                                  Cross-Defendants, Casha Kaufer and
                    20                                                            Michael Robert Douglas

                    21
                         Dated this 23rd day of October, 2020
                    22
                         WALLACE & MILLSAP
                    23   510 W. Plumb Lane, Ste. A
                         Reno, Nevada 89509
                    24
                    25      /s/Patrick R. Millsap
                         F. MCCLURE WALLACE, ESQ.–NSB #10264
                    26   PATRICK R. MILLSAP, ESQ.–NSB #12043                             SEE NEXT PAGE
                         Attorneys for Defendants/Counterclaimants/
                    27   Cross-Defendants, Laura Drucker and                             FOR ORDER
                         Susan Cossette
                    28
Robison, Sharp,
Sullivan & Brust
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(775) 329-3151
                         Case 3:19-cv-00658-LRH-WGC Document 31
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                     1        IT IS SO ORDERED.                     ORDER

                     2       IT IS SO ORDERED.
                               Dated: October ____, 2020.
                     3
                            DATED this 27th day of October, 2020.
                     4
                                                                         _________________________________
                                                                          ___________________________________
                     5                                                    UNITED
                                                                         LARRY  R.STATES
                                                                                   HICKS MAGISTRATE JUDGE
                                                                         UNITED STATES DISTRICT JUDGE
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